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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

BBAM Aircraft Management LP and        Case No. 3:20-cv-01056-VLB
BBAM US LP,

              Plaintiffs,

           -against-

Babcock & Brown LLC, Burnham
Sterling & Company LLC, Babcock &
Brown Securities LLC, Babcock &
Brown Investment Management LLC,

              Defendants.




  PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF ITS OPPOSED MOTION
     FOR LEAVE TO FILE SECOND AMENDED AND FIRST SUPPLEMENTAL
                            COMPLAINT
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                                 INTRODUCTION


      During discovery in this case, Plaintiffs BBAM Aircraft Management LP and

BBAM US LP (collectively “BBAM”) elicited admissions from Defendants that

they did not use their registered marks as they represented to the Trademark

Office and that they executed a trademark assignment-in-gross—facts that render

Defendants’ trademark filings and registrations void. Accordingly, BBAM seeks

leave pursuant to Federal Rules of Civil Procedure 15 and 16 and Local Rule 7(f)

to file a Second Amended and First Supplemental Complaint (“SAC”) to conform

to facts uncovered through the discovery process. Specifically, the SAC: (1)

alleges one alternate theory for each of BBAM’s existing trademark registration

cancellation claims based on recently-learned facts and admissions from

Defendants in discovery; (2) supplements the complaint to add an additional

ground to refuse Defendants’ pending trademark application again based on

recently-learned facts from Defendants; (3) supplements allegations to reflect

BBAM’s current relationship (as of August 2021) with Fly Leasing Limited (“Fly”),

a company that used to be managed by BBAM and now licenses BBAM’s

trademarks. Redlined and clean copies of the proposed Second Amended and

First Supplemental Complaint are attached to the Declaration of Diana Rutowski

as Exhibits A and B.

      Because BBAM has acted diligently in seeking to amend and the proposed

amendments and supplementations merely conform to the evidence and will

cause no prejudice to the Defendants, there is good cause to allow BBAM to file a




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Second Amended and First Supplemental Complaint. Defendants oppose this

motion.


                                  BACKGROUND

      The Second Amended and First Supplemental Complaint (“SAC”) does not

alter or expand the scope of the case vis-à-vis the parties: BBAM is not seeking

to add any parties or any causes of action. Instead, BBAM seeks to conform its

claims to the evidence that has come to light from Defendants through the

discovery process (particularly during the deposition of Defendants’ principal

and Rule 30(b)(6) witness in July) and to supplement to address the August 2021

acquisition of Fly by a third party and the resulting trademark license, all of which

are facts that have been uncovered or arose after the First Amended Complaint

(“FAC”), Dkt. 32. BBAM describes its proposed amendments to the FAC below.

      A.     Babcock & Brown LLC’s And Its Licensee’s Failure To Use Its
             Registered Marks In Commerce Prior To The Statutory Deadline

      BBAM seeks to add an alternate ground to cancel Babcock & Brown LLC’s

trademark registrations based on its failure to use the marks in commerce prior

to the statutory deadline to do so under the Lanham Act. BBAM’s FAC seeks

cancellation because each of Babcock & Brown LLC’s registrations is invalid due

to a likelihood of consumer confusion with BBAM’s senior trademark rights. This

amendment does not alter those claims. Instead, BBAM seeks to add a separate

and independent ground for cancellation based on Defendants’ admissions

during discovery that they failed to render services in commerce under the marks

prior to the statutory deadline set in the Lanham Act, 15 U.S.C. § 1051(d).




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      In 2015 and 2016, Defendant Babcock & Brown LLC filed four trademark

applications with the United States Patent & Trademark Office (“USPTO”): (1) for

the “B&B” mark (Reg. No. 6,037,338); (2) for the “B & B” mark (Reg. No.

5,851,855); and (3) two applications for the “BABCOCK & BROWN” mark (Reg.

Nos. 5,769,928 and 5,643,846)—based on Babcock & Brown LLC’s intent to use

the marks in commerce. For each application, Babcock & Brown LLC was then

required to submit a statement of use, including an affidavit under penalty of

perjury, verifying that each mark had (1) actually been used or displayed in the

sale or advertising of its services and (2) that those services were actually

rendered in commerce within a statutorily mandated period to obtain

registrations. 15 U.S.C. § 1051(d) (requiring a verified statement that the mark “is

in use in commerce”); 15 U.S.C. § 1127 (defining “use in commerce” for services

to mean “use[] or display[] in the sale or advertising of services” and “the

services are rendered in commerce”). This requirement is intended to protect

against trademark squatting, preventing applicants from holding trademark

applications indefinitely without putting the mark into use.

      Failure to use a mark within the requisite period for filing a statement of

use is grounds for cancelling a trademark registration. See Aycock Eng’g, Inc. v.

Airflite, Inc., 560 F.3d 1350, 1357 (Fed. Cir. 2009). As detailed in the SAC, Babcock

& Brown LLC had statutory deadlines to use the BABCOCK & BROWN or B&B

marks and provide the services listed in the applications to obtain trademark

registrations.




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      While Babcock & Brown did submit statements of use to the USPTO, within

just the past few weeks, BBAM learned of evidence that Babcock & Brown LLC

did not actually satisfy the statutory requirements to obtain trademark

registrations, which if proven will render those registrations void. Specifically,

during the July 27–28, 2021 deposition of Babcock & Brown LLC’s principal and

Rule 30(b)(6) witness, Michael Dickey Morgan, Mr. Morgan testified that




      Likewise, there is evidence that neither of Babcock & Brown LLC’s two

purported trademark licensees rendered services under the marks within the

statutory deadline.




                                 Second, the other licensee, Defendant Babcock &

Brown Securities LLC, only “began rendering … services in commerce under the

marks BABCOCK & BROWN and B&B” on July 20, 2020—which was after the

statutory deadline in 2019 under the Lanham Act, 15 U.S.C. § 1051(d). See id. Ex.

E at 5 (Defendants’ Responses to Interrogatory No. 5); id. Ex. B at ¶ 43

(describing relevant statutory deadlines for each of the marks).




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      B.    Burnham Sterling’s Assignment-in-Gross Of The BURNHAM
            BABCOCK & BROWN Mark And Corresponding Trademark
            Application

      BBAM seeks to supplement its allegations with facts arising after the FAC

was filed that support an additional ground to refuse registration of pending U.S.

Trademark Application Serial No. 86/874,181 for the BURNHAM BABCOCK &

BROWN mark.




      C.    BBAM’s Sale Of Fly

      Finally, BBAM seeks to supplement the SAC to reflect the recent sale of,

and current trademark license agreement to, Fly. As alleged in the FAC, Fly was a

NYSE-listed aircraft lessor. BBAM exclusively managed Fly’s aircraft portfolio

and Fly used BBAM’s trademarks under BBAM’s control and management. In

August 2021, this relationship changed when Fly was acquired by Carlyle

Aviation Partners in a transaction that delisted Fly from the public stock

exchange. In connection with that acquisition, BBAM and Fly entered into a

trademark license agreement governing Fly’s continued use of the Babcock &

Brown and B&B word marks. The proposed SAC reflects this change in facts




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regarding the relationship between BBAM and Fly—facts which Defendants have

already learned through discovery.

                                   *      *     *

      BBAM notified Defendants via letter about its planned motion for leave to

amend its complaint on August 13th after analyzing Mr. Morgan’s July 27-28

testimony in light of Defendants’ other representations in discovery and to the

USPTO. See Rutowski Decl. Ex. F. This motion followed soon thereafter.

                                LEGAL STANDARD

      Courts “should freely give leave [to amend pleadings] when justice so

requires.” Fed. R. Civ. P. 15(a)(2). Amendments are generally favored because

they tend to facilitate a proper decision on the merits. Enzymotec Ltd. v. NBTY,

Inc., 754 F. Supp. 2d 527, 538 (E.D.N.Y. 2010) (internal citation omitted). “Absent

specific reason, such as undue delay, or dilatory motive on a movant’s part,

failure to grant leave to amend constitutes an abuse of discretion by a district

court.” Graham v. Bowen, 707 F. Supp. 118, 120 (W.D.N.Y. 1989) (citing Foman v.

Davis, 371 U.S. 178, 182 (1962)). When determining whether to grant leave to

amend, courts consider (1) whether the party seeking the amendment has unduly

delayed; (2) whether that party is acting in good faith; (3) whether the opposing

party will be prejudiced; and (4) whether the amendment will be futile. See

Eskenazi-McGibney v. Connetquot Central School Dist., 84 F. Supp. 3d 221, 225

(E.D.N.Y. 2015).

      Where a court has filed a scheduling order that established a timetable for

amending the pleadings, a party seeking to file an amended pleading must show




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“good cause” to modify the scheduling order under Rule 16(b)(4) to allow the

filing. Mason Tenders Dist. Council v. Phase Constr. Servs., Inc., 318 F.R.D. 28,

36 (S.D.N.Y. 2016). “[T]he primary consideration is whether the moving party can

demonstrate diligence.” Kassner v. 2nd Avenue Delicatessen Inc., 496 F.3d 229,

244 (2d Cir. 2007). Other factors include whether allowing the amendment of the

pleading at this stage of the litigation will prejudice defendants or cause undue

delay. Id. Courts also apply the “good cause” standard to determine whether to

allow a supplemental pleading under Fed. R. Civ. P. 15(d). See Darowski v.

Wojewoda, No. 3:15-CV-803 (MPS), 2018 WL 2122822, at *2 (D. Conn. May 8, 2018).


                                   ARGUMENT

      BBAM’s proposed SAC meets both the Rule 15 amendment standard and

the Rule 16’s good cause standard to amend the scheduling order. Because the

factors under the Rules’ standards overlap and all favor allowing amendment,

BBAM addresses the factors together. As detailed below, BBAM has acted

diligently in seeking to amend and supplement its complaint within weeks of

learning the relevant facts, Defendants will not be prejudiced by the amendment

that conforms to the evidence learned through discovery, there is no evidence of

bad faith, and the proposed amendments are not futile.

I.    BBAM Has Acted Diligently In Moving To Amend Its Complaint.

      BBAM has acted diligently and has not unduly delayed in seeking to amend

its complaint. It acted promptly and within weeks of learning facts pertinent to

the amendment. Courts in the Second Circuit have found delays of twelve

months or even three years insufficient to warrant denial of leave to amend. See




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National Rifle Assoc. of America v. Cuomo, 480 F. Supp. 3d 404, 413 (N.D.N.Y.

2020) (describing body of caselaw and holding that three-month delay in filing

second amended complaint did not constitute undue delay). Further, courts

routinely allow amended pleadings and scheduling order modifications when the

request follows close on the heels of new evidence uncovered in discovery—

particularly when the discovery reveals new claims or legal bases for relief. See,

e.g., Mason Tenders Distr. Council v. Phase Constr. Servs., Inc., 318 F.R.D. 28, 37

(S.D.N.Y. 2016) (granting leave to file amended complaint and modify scheduling

order where basis for new claim arose from recent deposition); Enzymotec Ltd. v.

NBTY, Inc., 754 F. Supp. 2d 527, 537 (E.D.N.Y. 2010) (granting leave to file

amended complaint and modify scheduling order where Plaintiffs learned of basis

for new claim over the course of discovery); Permatex, Inc. v. Loctite Corp., No.

03 Civ. 943, 2004 WL 1354253, at *1 (S.D.N.Y. June 17, 2004) (granting leave to file

amended complaint and modify scheduling order where basis for new claim

arose from recent deposition).

      BBAM seeks to amend its complaint within weeks of learning the relevant

facts. BBAM received evidence that gave rise to the new grounds for cancellation

of Babcock & Brown LLC’s trademark registrations and refusal of its trademark

application at the end of July during Mr. Morgan’s depositions. Counsel for

BBAM promptly informed Defendants that BBAM would seek to file the SAC. See

Rutowski Decl. Ex. E. This motion followed promptly thereafter. With respect to

Fly, the transaction that led to Fly being sold (and the resulting trademark

license) closed in or around the beginning of August. BBAM proposes to




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supplement the SAC with allegations to bring the Fly relationship up to date

shortly after the operative transaction closed.

II.    There Is No Evidence Of Bad Faith.

       BBAM is not seeking to amend its complaint for any improper purpose and

there is no evidence of bad faith. The new grounds for cancellation of Babcock &

Brown LLC’s trademark registrations and refusal of its pending trademark

application are supported by evidence that BBAM obtained from Defendants at

the end of July. The supplemental Fly allegations reflect a transaction that closed

in August. BBAM moved promptly after learning these facts, which are all either

known by or disclosed to Defendants.

III.   Defendants Will Not Be Prejudiced By The Proposed Amendments, Which
       Will Not Cause Undue Delay.

       BBAM’s amendments will not prejudice Defendants. “In determining what

constitutes ‘prejudice,’ courts consider whether the assertion of the new claim

would, among other things, require defendant to expend significant additional

resources to conduct discovery and prepare for trial or significantly delay the

resolution of the dispute.” Mason Tenders, 318 F.R.D. at 38. Defendants’ uses in

commerce of the BABCOCK & BROWN, B&B, B & B, and BURNHAM BABCOCK &

BROWN marks have been at issue for the entire pendency of this case, and all of

the relevant facts regarding those uses are solely in Defendants’ possession.

Defendants will not need to seek any information from BBAM or third parties to

evaluate their possible defenses to BBAM’s amended and supplemented claims.

Further, in light of the pending Motion to Dismiss, Dkt. 39, the pleadings have not

yet closed, and Defendants have not yet filed their answer to the FAC.




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Defendants will thus not be prejudiced by having to answer the SAC, nor will the

SAC cause any undue delays in the case schedule.

IV.   The Proposed Amendments Are Not Futile.

      BBAM’s proposed amendments are not futile. With respect to BBAM’s

amended claims for cancellation of Babcock & Brown LLC’s trademark

registrations, it is well-settled that failure to use a mark within the statutorily

mandated period is grounds for cancellation of a trademark registration. See

Aycock Eng'g Inc. V. Airflite Inc., 560 F.3d 1350, 1357 (Fed. Cir. 2009) (cancelling

service mark registration because applicant failed to use the mark in commerce);

CSI Ent., Inc. v. Anthem Media Grp., Inc., No. 15CV3508AMDRER, 2016 WL

11263667, at *11 (E.D.N.Y. Dec. 30, 2016) (same); Ranch v. Tribe, 78 U.S.P.Q.2d

1696 (T.T.A.B. 2006) (same). Because Babcock & Brown LLC filed all of the

relevant trademark applications on an intent-to-use basis, it was required by law

to submit a statement of use, including an affidavit under penalty of perjury,

verifying that each mark was (1) used or displayed in the sale or advertising of its

services and (2) that those services were rendered in commerce within a

statutorily mandated period of time. See 15 U.S.C. § 1051(d)(1) (“‘W]ithin six

months . . . the applicant shall file in the Patent and Trademark Office . . . a

verified statement that the mark is in use in commerce and specifying the date of

the applicant’s first use of the mark in commerce and those goods or services

specified in the notice of allowance on or in connection with which the mark is

used in commerce.”). “[R]endering services requires actual provision of

services.” Couture v. Playdom, Inc., 778 F.3d 1379, 1382 (Fed. Cir. 2015)

(emphasis added).



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      Thus, Babcock & Brown LLC was required to use the marks in its

trademark applications and provide the services listed in those applications by

statutory deadlines of October 20, 2018 (BABCOCK & BROWN), January 5, 2019

(BABCOCK & BROWN), and July 5, 2019 (B&B and B & B), respectively, to obtain

trademark registrations.




      With respect to BBAM’s amended claim seeking the refusal of the

trademark application for the BURNHAM BABCOCK & BROWN mark, “an [intent-

to-use] applicant may only transfer its application to another if it is transferred

with at least the part of the applicant's ‘ongoing and existing’ business to which

the mark pertains.” Creative Arts by Calloway, LLC v. Brooks, No. 09-CV-10488

CS, 2012 WL 6732907, at *4 (S.D.N.Y. Dec. 27, 2012); see 15 U.S.C. § 1060(a)(1).

When an intent-to-use application is assigned without transferring any portion of

the business to which the mark pertains, “the assignment and, in turn, the [intent-

to-use] application for the registration of the mark, are invalid.” Creative Arts,

2012 WL 6732907, at *4. The Lanham Act prohibits such assignments because

“[u]se of [a] mark by [an] assignee in connection with a different goodwill and




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different product would result in a fraud on the purchasing public who reasonably

assume that the mark signifies the same thing, whether used by one person or

another.” Marshak v. Green, 746 F.2d 927, 929 (2d Cir. 1984).




      Accordingly, the proposed amendments are not futile.

                                  CONCLUSION

      For the foregoing reasons, BBAM’s Motion for Leave to File a Second

Amended and First Supplemental Complaint should be granted.




Dated: September 2, 2021



                                          Respectfully submitted,

                                          Orrick, Herrington & Sutcliffe LLP

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                                Certificate of Service

      I hereby certify that on September 2, 2021, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system or by mail to anyone unable to accept electronic filing.

Parties may access this filing through the Court’s CM/ECF system.




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